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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

Chrome Cherry Limited
                                                        Plaintiff,
v.                                                                   Case No.:
                                                                     1:21−cv−02578
                                                                     Honorable Martha M.
                                                                     Pacold
The Partnerships and Unincorporated Associations
Identified on Schedule "A", et al.
                                                        Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, September 30, 2021:


        MINUTE entry before the Honorable Martha M. Pacold: Defendants artxdhk at
Line No. 1, fastoper_1 at Line No. 11, gpc663 at Line No. 15, lanla_5891 at Line No. 22,
linxia−2136 at Line No. 25, wardcoffey at Line No. 35, yalu95 at Line No. 38, boebrykira
at Line No. 44, Growth Wang, at Line No. 57, Jacky Lee at Line No. 64, snxmgngve at
Line No. 83, suieefg6 at Line No. 88, and wolindtgvls at Line No. 95 are hereby dismissed
with leave to reinstate within two hundred and seventy (270) days pursuant to the Notice
of Dismissal Under Rule 41(a)(1) filed by Plaintiff on 9/30/2021.(rao, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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